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Alex K. Ross

June 28, 2023
BY ECF

The Honorable John P. Cronan
United States District Court Judge
Southern District of New York
500 Pearl Street, Room 130

New York, NY 10007

Re: St. Charles New York Inc. v. E. Lawrence Design LLC, et al
Civil Action No.: 23-CV-4622-JPC

Dear Judge Cronan:

We have been very recently retained to represent three of the defendants in this action: (i)
E. Lawrence Design LLC (“ELD”); (i) New Day Woodwork, Inc. (“New Day”); and (iti) RBL
Metals, LLC (“RBL”). We write to respectfully request an extension of time for these defendants
to file their response to the complaint of the plaintiff, St. Charles New York Inc. (“St. Charles”).

In accordance with Your Honor’s Individual Rules and Practices, we make the following
statements:

1. The original date set for defendants New Day and RBL to answer is presently June
29, 2023 (ECF # 17 and ECF # 18), and the date for defendant ELD to answer is July 5, 2023 (ECF
#21). Our requested extension for these three (3) defendants is thirty (30) days to July 28, 2023.

2. We respectfully request this extension so that we can properly investigate the
Plaintiff's allegations and to determine if additional counsel specializing in these matters would be
appropriate. We also request the extension so that we may determine if a motion to dismiss the
Plaintiff's complaint would be appropriate given that ELD previously commenced an action against
this Plaintiff (St. Charles) in the Supreme Court of the State, New York County under Index No.
653429/2022, which action remains pending.

3. This is our first request for an extension of time in this matter.

4. We have not made any prior requests in this matter.
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5. Opposing counsel has not yet responded to our request for their consent to this
extension.

Our request is being made at this time because we were just recently retained by the
above-referenced defendants for this matter. The docket indicates that defendants Amy Schorr
and Brian Schorr (through counsel) requested and received an extension of time to respond until
July 28, 2023 (ECF #24), and therefore we believe that our request for a short extension will not
delay this matter.

Thank you for your consideration.
Respectfully submitted,

ROSS KATZ &
PACHNANDA PLLC

 

Alex K. Ross

ce: all counsel of record (via ECF)
